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                        UNITED STATES DISTRICT COURT

                       WESTERN DISTRICT OF LOUISIANA

                              SHREVEPORT DIVISION


 UNITED STATES OF AMERICA               *        CRIMINAL NO.: 18-00252-01-03
                                        *
 VERSUS                                 *
                                        *
 BRANT LANDRY (01)                      *        JUDGE FOOTE
 MIKE MOSURA (02), and,                 *
 JULIE LANDRY (03)                      *        MAGISTRATE JUDGE HORNSBY

                  UNITED STATES=S FORESEEABLE ISSUES

       NOW INTO COURT, through the undersigned Assistant United States

 Attorney, comes the United States of America, which respectfully provides this list of

 foreseeable issues:

                                            1.

       The Government estimates that its case in chief will not exceed three (3) days.

                                            2.

       As of the date of this filing, BRANT LANDY and MIKE MOSURA have

 accepted a plea offer from the Government.      JULIE LANDRY has not entered a plea

 agreement with the Government.      If any of the above-named defendants proceed to

 trial, the Government requests that before commencement of the trial, the Court

 confirm on the record that each Defendant is aware of the previously communicated

 plea offer(s) and have chosen to decline it.     See Lafler v. Cooper, 132 S.Ct. 1376

 (2012).
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                                             3.

       The Government will supply any additional Jencks Act material, including

 grand jury transcripts of Government case-in-chief witness(es) no later than the

 Friday before trial.   The Government will also provide the defense a copy of its

 exhibits in advance of trial in accordance with this Court’s Pretrial Scheduling Order.

                                             4.

       The Government is not aware of any discovery issues and has provided Rule

 16 discovery to Defendants. To date, no defendants have produced any reciprocal

 discovery to the Government.

                                             5.

       The Government is willing to enter into stipulations of fact and exhibits where

 the parties are able to agree.       The Government will propose stipulations for

 consideration by the Defendants.

                                             6.

       The Government intends to call the followings witnesses as experts in its case-

 in-chief: (1) the laboratory chemist who examined and analyzed the controlled

 substances (anabolic steroids); (2) a computer forensic examiner the discuss the

 methods and processes utilized to retrieve, preserve, and examine computer evidence

 seized by law enforcement; and (3) a law enforcement official to discuss the methods

 and tools of illegal drug trafficking, quantities of anabolic steroids that are consistent

 with distribution, the methods that anabolic steroids are procured overseas sources

 and manufactured, and the street value of anabolic steroids for the Shreveport area.



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 The Government will file a formal Rule 16 Expert Notice and provide curricula vitae

 prior to trial.

                                            7.

        The Government will seek to introduce and publish to the jury certain physical

 evidence at trial to include, but not limited to, firearms, ammunition, seized

 controlled substances, pill mixer and pressing aparatus, and packaging materials,

 and computer evidence.       The Government will move to admit in the record

 photographs in lieu of some of the physical evidence.

                                            8.

        In addition to anabolic steroids, law enforcement seized other controlled

 substances from the Defendant’s residence and automobile including, but not limited

 to, Xanax.        Because the other controlled substances were seized from the

 Defendant’s residence and automobile where the anabolic steroids were seized, such

 evidence is res gestae and is not subject to the strictures of Fed.R.Evid. 404(b).

                                           10.

        Forfeiture as alleged in the Indictment should be bifurcated for trial purposes.

 See Fed. R. Crim. Proc. 32.2(b)(5). The Government will provide a redacted copy of

 the Indictment for use by the Court and jury. If convicted, the Defendants may

 choose to have the forfeiture tried by the jury or by the Court. The Government

 hereby notifies the court that if the Defendants are found guilty of relevant counts in

 the Indictment, the Government will not request that the jury be retained to

 determine the forfeitability of property or assets as authorized by Federal Rule of



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 Criminal Procedure 32.2(b)(5)(A).

                                          11.

       The Government will notify the Court and counsels for Defendants if any

 other foreseeable issues arise.

       Wherefore, the United States prays that this list of foreseeable issues be found

 acceptable.

                                         Respectfully submitted,

                                         DAVID C. JOSEPH
                                         UNITED STATES ATTORNEY


                                   By:   /s/ Earl M. Campbell
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